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 1                                                                      Hon. Ricardo S. Martinez
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                           NO. CR20-094-RSM
11                            Plaintiff,
12                       v.
                                                          PRELIMINARY ORDER OF
13
      JORGE URIEL ESQUIVEL-MENA,                          FORFEITURE
14
                              Defendant.
15
16
17         THIS MATTER comes before the Court on the United States’ Motion for Entry of
18 a Preliminary Order of Forfeiture (“Motion”) seeking to forfeit, to the United States,
19 Defendant Jorge Uriel Esquivel-Mena’s (“Defendant”) interest in the following property:
20         1.       $24,980 in United States currency seized on August 5, 2020; and,
21         2.       One Marlin 7000 .22 LR Cal. Rifle, seized on August 5. 2020.
22         The Court, having reviewed the United States’ Motion, as well as the other papers
23 and pleadings filed in this matter, hereby FINDS entry of a Preliminary Order of
24 Forfeiture is appropriate because:
25         •        The above-identified property is forfeitable pursuant to 21 U.S.C. § 853(a),
26                  as it facilitated, or constitutes or is derived from proceeds Defendant
27                  obtained as a result of, his commission of Conspiracy to Distribute
28

     Preliminary Order of Forfeiture - 1                                      UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     United States v. Jorge Uriel Esquivel-Mena, CR20-094-RSM                SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
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 1                   Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C)
 2                   and 846; and,
 3           •       On July 27, 2021, Defendant entered into a plea agreement, in which he
 4                   agreed to forfeit the property pursuant to 21 U.S.C. § 853(a), Dkt. No. 156
 5                   ¶ 12.
 6
 7           NOW, THEREFORE, THE COURT ORDERS:
 8           1)      Pursuant to 21 U.S.C. § 853(a) and his plea agreement, Defendant’s interest
 9 in the above-identified property is fully and finally forfeited, in its entirety, to the United
10 States;
11           2)      Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A)-(B), this Preliminary Order will
12 be final as to Defendant at the time he is sentenced, it will be made part of the sentence,
13 and it will be included in the judgment;
14           3)      The Department of Justice, Drug Enforcement Administration, and/or its
15 authorized agents or representatives (“DEA”) shall maintain the above-identified
16 property in its custody and control until further order of this Court;
17           4)      Pursuant to Fed. R. Crim. P. 32.2(b)(6) and 21 U.S.C. § 853(n), the
18 United States shall publish notice of this Preliminary Order and its intent to dispose of the
19 property as permitted by governing law. The notice shall be posted on an official
20 government website – currently www.forfeiture.gov – for at least thirty (30) days. For
21 any person known to have alleged an interest in the property, the United States shall, to
22 the extent possible, provide direct written notice to that person. The notice shall state that
23 any person, other than the Defendant, who has or claims a legal interest in the property
24 must file a petition with the Court within sixty (60) days of the first day of publication of
25 the notice (which is thirty (30) days from the last day of publication), or within thirty (30)
26 days of receipt of direct written notice, whichever is earlier. The notice shall advise all
27 interested persons that the petition:
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 1                  a.      shall be for a hearing to adjudicate the validity of the petitioner’s
                            alleged interest in the property;
 2
                    b.      shall be signed by the petitioner under penalty of perjury; and,
 3
                    c.      shall set forth the nature and extent of the petitioner’s right, title, or
 4                          interest in the property, as well as any facts supporting the
 5                          petitioner’s claim and the specific relief sought.
 6         5)       If no third-party petition is filed within the allowable time period, the
 7 United States shall have clear title to the property, and this Preliminary Order shall
 8 become the Final Order of Forfeiture as provided by Fed. R. Crim. P. 32.2(c)(2);
 9         6)       If a third-party petition is filed, upon a showing that discovery is necessary
10 to resolve factual issues it presents, discovery may be conducted in accordance with the
11 Federal Rules of Civil Procedure before any hearing on the petition is held. Following
12 adjudication of any third-party petitions, the Court will enter a Final Order of Forfeiture,
13 pursuant to Fed. R. Crim. P. 32.2(c)(2) and 21 U.S.C. § 853(n), reflecting that
14 adjudication; and,
15         7)       The Court will retain jurisdiction for the purpose of enforcing this
16 Preliminary Order, adjudicating any third-party petitions, entering a Final Order of
17 Forfeiture, and amending the Preliminary Order or Final Order as necessary pursuant to
18 Fed. R. Crim. P. 32.2(e).
19
20         IT IS SO ORDERED.
21         DATED this 15th day of November, 2021.
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23
24
25
                                                    A
                                                    RICARDO S. MARTINEZ
                                                    CHIEF UNITED STATES DISTRICT JUDGE
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